            Case 3:20-cr-00223-IM               Document 36   Filed 12/17/20    Page 1 of 4




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Of Attorneys for Defendant
JACOB MICHAEL GAINES

                                IN THE UNITED STATES DISTRICT COURT

                                        FOR THE DISTRICT OF OREGON


 UNITED STATES OF AMERICA,                        )
                                                  )
                    Plaintiff                     )            Case No. 3:20-CR-223-IM
                                                  )
              v.                                  )
                                                               DECLARATION OF
                                                  )
                                                               COUNSEL IN SUPPORT OF
 JACOB MICHAEL GAINES,                            )
                                                               DEFENDANT’S MOTION TO
                                                  )
                                                               CONTINUE JURY TRIAL
                                                  )
                    Defendant                     )
                                                  )
 _____________________________                    )

         I, Rosalind M. Lee, state and declare under penalty of perjury that:

         1. I am an attorney, and in that capacity I represent Mr. Jacob Gaines, the defendant
              herein;

         2. I was appointed to represent Mr. Gaines on August 14, 2020, by the Honorable Karin

              J. Immergut pursuant to the Criminal Justice Act, 18 U.S.C. § 3006A(e)(2).

         3. On July 12, 2020, Mr. Gaines was charged by information with one count of

              assaulting a federal officer in violation of 18 U.S.C. section 111(a)(1) and (b). He




United States v Jacob Michael Gaines. No. 3:20-cr-00223 IM
Declaration of Counsel in Support of Defendant’s Motion to
Continue Jury Trial
Page 1 of 4
            Case 3:20-cr-00223-IM               Document 36   Filed 12/17/20   Page 2 of 4




              was ordered released by the Honorable Stacie Beckerman. The government appealed,

              and, after a hearing, was ordered detained by the Honorable Michael Mosman.

         4. On July 16, 2020, the grand jury handed up an indictment charging Mr. Gaines with a

              single count of assault on a federal officer.

         5. Mr. Gaines was arraigned on the indictment on August 12, 2020.

         6. On September 30, 2020, the court excluded time between October 13, 2020, and

              January 12, 2021, under 18 U.S.C. §3161.

         7. On November 2, 2020, the defense filed a Motion for Pretrial Release. The

              government filed a response on November 5, 2020; and the defense filed a reply on

              November 10, 2020. On November 13, 2020, the court held a hearing on defendant’s

              motion. The motion was denied.

         8. On November 27, 2020, the defense filed a Notice of Interlocutory Appeal, appealing

              the court’s ruling of November 13, 2020. That appeal is pending before the Ninth

              Circuit Court of Appeals. The defense filed its opening memorandum on December

              11, 2020; the government’s response is due December 21, 2020, and the defense’s

              reply is due December 28, 2020.

         9. This matter is set for trial on January 12, 2021. This is the second trial setting.

         10. As of the date of this filing, there are 22 days remaining under the Speedy Trial Act,

              18 U.S.C. section 3161(c)(1).

         11. A continuance is necessary because the government has not provided all discovery in

              this case. I am informed by AUSA Chris Cardani that there is video of the incident

              captured outside of the United States Courthouse that contains content relevant to the

              alleged incident, and that the government will be providing that video to the defense.

         12. A continuance is also necessary, because of the ongoing state emergency due to

              COVID-19:



United States v Jacob Michael Gaines. No. 3:20-cr-00223 IM
Declaration of Counsel in Support of Defendant’s Motion to
Continue Jury Trial
Page 2 of 4
            Case 3:20-cr-00223-IM               Document 36    Filed 12/17/20      Page 3 of 4




                       a. I live and practice in Eugene, Lane County, Oregon.

                       b. Both Lane County and Multnomah County are classified as “Extreme

                            Risk” counties by the Oregon Health Authority. See

                            https://coronavirus.oregon.gov/Pages/living-with-covid-

                            19.aspx#currentrisklevelbycountymap (last visited December 17, 2020).

                       c. My legal assistant is in a high-risk category for serious illness or death due

                            to COVID-19.

                       d. To prepare for a trial in this matter, I will need to travel between Lane and

                            Columbia Counties to meet with my client in person. This travel requires

                            passing through five counties, all of which are classified as Extreme Risk

                            by the Oregon Health Authority. Id.

                       e. By preparing for trial in this matter in December and January, I believe

                            that I will greatly increase my risk of being exposed to COVID-19.

                       f. Due to COVID-19 there are no contact visits at the Columbia County Jail.

                            All visits are through glass, which limits my ability to work with my

                            client. For example, I cannot review documents confidentially with Mr.

                            Gaines. To review documents with my client, I have to request permission

                            from the jail staff. To give my client a document to review, deputy must

                            unlock the “paper pass” between me and my client. A paper pass is a slot

                            below the window in the wall between me and my client in the interview

                            room. After I slide the paper through the slot, the deputy reviews the

                            document, then hands it to my client. The deputy then locks the paper

                            pass and leaves the interview room. In these non-contact interview rooms,

                            I cannot show work product documents to my client without having jail

                            staff review them first. In a contact visit, jail staff does not review



United States v Jacob Michael Gaines. No. 3:20-cr-00223 IM
Declaration of Counsel in Support of Defendant’s Motion to
Continue Jury Trial
Page 3 of 4
            Case 3:20-cr-00223-IM               Document 36      Filed 12/17/20    Page 4 of 4




                            documents before handing them to my client. These visits are inadequate

                            for meaningful trial preparation.

                        g. Based on my experience, there is nothing about this case that would

                            require that it go to trial during a pandemic. For example, I am aware of

                            no witness availability issues or speedy trial issues that require that the

                            case go to trial in January, 2021.

         13. I have conferred with Mr. Gaines; I have informed him of his rights under the Speedy

              Trial Act. He informed me that he has no objection to continuing the trial in this

              matter.

         14. AUSA Chris Cardani informs me that he has no objection to the proposed

              continuance and exclusion of 120 days.

         15. Within the meaning of 18 U.S.C. section 3164(c), Mr. Gaines has been in custody for

              159 days, as of the date of this motion.

              I swear under penalty of perjury that the foregoing is true and correct to the best of

         my ability.

DATED: December 17, 2020


                                              /s/ Rosalind M. Lee
                                              Rosalind M. Lee




United States v Jacob Michael Gaines. No. 3:20-cr-00223 IM
Declaration of Counsel in Support of Defendant’s Motion to
Continue Jury Trial
Page 4 of 4
